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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

UNITED STATES OF AMERICA                                              :

          -v.-                                                        :      18 Cr. 602 (WHP)

MICHAEL COHEN,                                                        :

                              Defendant.                              :

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X




                      THE GOVERNMENT’S SENTENCING MEMORANDUM




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                                          PRELIMINARY STATEMENT

          Defendant Michael Cohen is scheduled to be sentenced on December 12, 2018. The United

States Attorney’s Office for the Southern District of New York (the “Office”) respectfully submits

this memorandum in connection with that sentencing and in response to the defendant’s sentencing

memorandum dated November 30, 2018 (“Def. Mem.”).

          Cohen, an attorney and businessman, committed four distinct federal crimes over a period

of several years. He was motivated to do so by personal greed, and repeatedly used his power and

influence for deceptive ends. Now he seeks extraordinary leniency – a sentence of no jail time –

based principally on his rose-colored view of the seriousness of the crimes; his claims to a

sympathetic personal history; and his provision of certain information to law enforcement. But

the crimes committed by Cohen were more serious than his submission allows and were marked

by a pattern of deception that permeated his professional life (and was evidently hidden from the

friends and family members who wrote on his behalf).

          Cohen did provide information to law enforcement, including information that assisted the

Special Counsel’s Office (“SCO”) in ongoing matters, as described in the SCO’s memorandum to

the Court, and the Office agrees that this is a factor to be considered by the Court pursuant to Title
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18, United States Code, Section 3553(a). But Cohen’s description of those efforts is overstated in

some respects and incomplete in others. To be clear: Cohen does not have a cooperation

agreement and is not receiving a Section 5K1.1 letter either from this Office or the SCO, and

therefore is not properly described as a “cooperating witness,” as that term is commonly used in

this District.

        As set forth in the Probation Department’s Presentence Investigation Report (“PSR”), the

applicable United States Sentencing Guidelines (“Guidelines”) range is 51 to 63 months’

imprisonment. This range reflects Cohen’s extensive, deliberate, and serious criminal conduct,

and this Office submits that a substantial prison term is required to vindicate the purposes and

principles of sentencing as set forth in Section 3553(a). And while the Office agrees that Cohen

should receive credit for his assistance in the SCO investigation, that credit should not approximate

the credit a traditional cooperating witness would receive, given, among other reasons, Cohen’s

affirmative decision not to become one. For these reasons, the Office respectfully requests that

this Court impose a substantial term of imprisonment, one that reflects a modest downward

variance from the applicable Guidelines range.1

                                         BACKGROUND

A.      Cohen’s Offense Conduct

        As described in the PSR, in Criminal Information 18 Cr. 602, as well as in Criminal

Information 18 Cr. 850, Cohen committed four separate and serious crimes over the course of

several years. These crimes – willful tax evasion, making false statements to a financial institution,

illegal campaign contributions, and making false statements to Congress – were distinct in their

harms, but bear a common set of characteristics: They each involve deception, and were each


        1
          The Probation Department has similarly recommended a modest variance from the Guidelines
range, recommending a sentence of 42 months’ imprisonment, albeit for different reasons.


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motivated by personal greed and ambition. While Cohen – as his own submission makes clear –

already enjoyed a privileged life, his desire for even greater wealth and influence precipitated an

extensive course of criminal conduct, described below.

       1. Background

       Cohen is a licensed attorney and has been since 1992. (PSR ¶ 149.) Until 2007, Cohen

practiced as an attorney for multiple law firms, working on, among other things, negligence and

malpractice cases. (PSR ¶¶ 156-157.) For that work, Cohen earned approximately $75,000 per

year. (Id.) In 2007, Cohen seized on an opportunity. The board of directors of a condominium

building in which Cohen lived was attempting to remove from the building the name of the owner

(“Individual-1”) of a Manhattan-based real estate company (the “Company”). (PSR ¶ 155.) Cohen

intervened, secured the backing of the residents of the building, and was able to remove the entire

board of directors, thereby fixing the problem for Individual-1. (Id.) Not long after, Cohen was

hired by the Company to the position of “Executive Vice President” and “Special Counsel” to

Individual-1. (Id.) He earned approximately $500,000 per year in that position. (Id.)

       In January 2017, Cohen formally left the Company and began holding himself out as the

“personal attorney” to Individual-1, who at that point had become the President of the United

States. In January 2017, Cohen also launched two companies: Michael D. Cohen and Associates,

P.C., a legal practice, and Essential Consultants LLC, a consulting firm. (PSR ¶ 152.) Both

businesses were operated from the offices of a major law firm located in New York, and that firm

paid Cohen $500,000 per year as salary. (Id.) Cohen also secured a substantial amount of

consulting business for himself throughout 2017 by marketing to corporations what he claimed to

be unique insights about and access to Individual-1. But while Cohen made millions of dollars

from these consulting arrangements, his promises of insight and access proved essentially hollow.




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Documents obtained by the Government and witness interviews revealed that Cohen performed

minimal work, and many of the consulting contracts were ultimately terminated.

       During and subsequent to his employment with the Company, Cohen also maintained

additional sources of income. Most significantly, Cohen owned taxi medallions in New York City

and Chicago worth millions of dollars. Cohen held these medallions as investments and leased

them to operators who paid Cohen a specified monthly rate per medallion. (PSR ¶¶ 158-160.)

Cohen has also made substantial investments in real estate and other business ventures. (PSR

¶¶ 161-162.)

       2. Cohen’s Willful Tax Evasion

       Between tax years 2012 and 2016, Cohen evaded taxes by failing to report more than $4

million in income to the Internal Revenue Service (“IRS”), which resulted in the avoidance of

more than $1.4 million due to the United States Treasury Department. Specifically, Cohen failed

to report several different streams of income on his tax returns, which he swore were true and

accurate. (PSR ¶¶ 18-19.)

       The largest source of undisclosed income was more than $2.4 million that Cohen received

from a series of personal loans that he made to a taxi operator to whom Cohen leased certain of

his Chicago taxi medallions (“Taxi Operator-1”), between 2012 and 2015, for a total principal of

$6 million. Each of these loans carried an interest rate in excess of 12 percent. Cohen funded the

majority of these loans from a line of credit with an interest rate of less than 5 percent (such that

Cohen was earning a substantial spread on the difference between the two loan rates). At Cohen’s

direction, Taxi Operator-1 made the interest payment checks to Cohen personally. The checks

were deposited in Cohen’s personal bank account or in an account in his wife’s name. In total,

Cohen received more than $2.4 million in interest payments from Taxi Operator-1 between 2012




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and 2016. Cohen did not inform his accountant of this arrangement or provide him with

documentation in support of these loans and interest payments, and intentionally reported none of

that income to the IRS in order to hide it and evade paying taxes. (PSR ¶¶ 20-23.)

       Cohen also concealed more than $1.3 million in income he received from another taxi

operator to whom Cohen leased some of his New York taxi medallions (“Taxi Operator-2”). This

income took two forms. First, in 2012, Taxi Operator-2 paid Cohen a bonus of at least $870,000

to induce Cohen to allow him to operate some of Cohen’s taxi medallions. Cohen did not report

$710,000 of this bonus payment. (PSR ¶ 25). In addition, Cohen arranged with Taxi Operator-2

to receive a portion of the medallion income personally – as opposed to having the income paid to

Cohen’s medallion entities. That is, while most of the medallion income was paid to Cohen’s

medallion entities – whose bank statements were provided to his accountant for the purpose of

calculating the income for these entities and preparing Cohen’s tax returns – certain income was

provided by Taxi Operator-2 directly to Cohen personally and deposited into his personal account.

Cohen again chose not to notify his accountant of this arrangement or identify this additional

income to be reported. (PSR ¶ 26).

       Finally, Cohen hid several other sources of income from his accountant and the IRS. For

example, in 2014, Cohen received $100,000 for brokering the sale of a piece of property in a

private aviation community in Florida. In 2015, Cohen made approximately $30,000 in profit

from the sale of a rare and highly valuable French handbag. In 2016, Cohen received more than

$200,000 in consulting income from an assisted living company. Cohen reported none of this to

the IRS or his accountant. (PSR ¶ 27.)

       Cohen’s evasion of these taxes was willful.       In his sentencing submission and his

submissions to the Probation Department in connection with the preparation of the PSR, Cohen




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repeatedly attempted to minimize the seriousness of his decision not to report millions of dollars

of income over a period of years by blaming his accountant for not uncovering the unreported

income. Specifically, Cohen’s submission to the Probation Department asserted that “all relevant

bank records were provided annually by Cohen to [his accountant] for the relevant years.” (PSR

at 45). Cohen repeats these efforts to blame his accountant in his sentencing submission:

       Michael’s case stands out for comparative purposes in that a failure to reasonably
       identify all income to a tax preparer who received all client-related bank statements
       is quite different in kind from the sophisticated and complex schemes typical of
       criminal tax evasion cases.

(Def. Mem. at 15) (emphasis added). Cohen’s assertions are simply false. As the Government

was prepared to prove at trial, the defendant did not provide his accountant with “all client-related

bank statements” (Def. Mem. at 15 n.8), and the information Cohen did provide to his accountant

could not have led his accountant to uncover the unreported income. Between 2014 and 2016, but

not for 2012 or 2013, Cohen provided his accountant with certain bank records and instructed his

accountant to identify potential tax deductions. Cohen’s accountant did not go through Cohen’s

bank statements looking for potential sources of income, nor did Cohen ever request this. Indeed,

Cohen routinely refused to pay for any work by his accountant not specifically approved by Cohen.

       In addition, even if Cohen’s accountant had gone beyond the agreed scope of the

assignment, the accountant was not provided with records that would have allowed him to

reasonably identify the unreported income. Specifically, the bank records Cohen provided to his

accountant were limited to monthly statements and did not include images of deposited checks or

deposit slips. The records thus included reference to certain “deposit” or “credit” entries in

particular amounts, but did not include additional detail that would have allowed the accountant to

identify the source of these deposits or credits. For example, a page from Cohen’s bank records

from May 12, 2015 included a $15,312.50 “deposit.” While the Office’s investigation identified



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this as a loan interest payment from Taxi Operator-1 to Cohen, his accountant had no information

indicating the source of the deposit, nor that it concerned interest income that source was paying

to Cohen. In sum, any bank records provided by Cohen to his accountant “were insufficient for

[the accountant] to identify additional sources of income absent additional information from

Cohen.” (PSR at 47.) As the Probation Department noted in evaluating Cohen’s efforts to blame

his accountant for Cohen’s voluntary and intentional efforts to evade taxes, “the defendant’s

contention that he provided the accountant with all relevant bank records appears to minimize his

responsibility in the instant offense and attempts to place the burden on his accountant.” (PSR at

46).

       Finally, not only did Cohen fail to identify the unreported income for Accountant-1, on at

least two occasions Cohen took steps to conceal the interest income he was receiving from Taxi

Operator-1. Specifically, in a memorandum that Cohen’s accountant prepared in 2013 when

Cohen became a client, the accountant flagged the fact that a personal financial statement prepared

by Cohen’s prior accountant “shows Loans Receivables of $4,250,000, but there is no related

interest income reported on your 2012 personal income tax returns relative to this loan.” Cohen

and his accountant did not discuss the “loans receivables” further at the time because Cohen told

his accountant he did not ask for and would not pay for the memorandum. Later, when Cohen’s

accountant was helping him prepare an updated personal financial statement to provide to Bank-

2, discussed below, in connection with the renegotiation of certain medallion loans, Cohen crossed

out the “loans receivable” line item altogether from his personal financial statement, leading his

accountant to conclude that the entry was mistaken and there was no outstanding personal loan, or

that it had been paid off, neither of which was true.




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       3. Cohen’s False Statements to Financial Institutions

       In December 2015, Cohen contacted a bank (“Bank-3”) to apply for a home equity line of

credit (“HELOC”). In his application for the HELOC, Cohen made false statements about his net

worth and monthly expenses. Specifically, Cohen failed to disclose more than $20 million in debt

he owed to another bank (“Bank-2”), and also materially understated his monthly expenses to

Bank-3 by omitting at least $70,000 in monthly interest payments due to Bank-2 on that debt.

(PSR ¶ 34). These statements were the latest in a series of false statements Cohen made to financial

institutions in connection with credit applications.

       By way of background, by February 2013, Cohen had obtained a $14 million line of credit

from another bank (“Bank-1”), collateralized by his taxi medallions.2 In November 2014, Cohen

refinanced this medallion debt at Bank-1 with Bank-2.3 The transaction was structured as a

package of individual loans to the entities that owned Cohen’s New York medallions, totaling

more than $20 million, and personally guaranteed by Cohen. Following the closing of these loans,

the $14 million line of credit with Bank-1 was closed. (PSR ¶¶ 28-30.)

       In 2013, Cohen made a successful application to Bank-3 – the bank to which he later would

make false statements in connection with the HELOC application – for a mortgage on his Park

Avenue condominium. In that application, Cohen did not disclose the $14 million line of credit

he had with Bank-1 at the time. (PSR ¶ 31.)

       In February 2015, Cohen attempted to secure financing from Bank-3 to purchase a summer

home for approximately $8.5 million. Once again, he concealed the $14 million line of credit,



       2
          Cohen separately maintained a $6.4 million medallion-related loan with Bank-1. This loan was
disclosed in Cohen’s subsequent credit applications to Bank-2 and Bank-3.
       3
         Bank-2 shared the debt with a New York-based credit union, pursuant to a participation
agreement. For ease of reference, this memorandum will simply refer to the debt at Bank-2.


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which by this point took the form of the $20 million in refinanced loans with Bank-2. In

connection with the summer home application, Cohen had to go to great and deliberate lengths to

keep the debt hidden from Bank-3. Specifically, in connection with this proposed transaction,

Bank-3 obtained a personal financial statement that Cohen had provided to Bank-2 in connection

with the $20 million refinancing with Bank-2 in 2014. This personal statement listed the $14

million line of credit Cohen was seeking to refinance and increase with Bank-2. A representative

of Bank-3 specifically asked Cohen about the $14 million line of credit reflected on that statement

(which, as noted, had not been reflected on Cohen’s 2013 application to Bank-3 for a mortgage).

Cohen falsely stated that the $14 million line of credit was undrawn and that he would close it. In

truth, Cohen had effectively overdrawn the line of credit, by swapping it out for a fully drawn,

larger $20 million loan from Bank-2. Moreover, when Bank-3 informed Cohen that it would only

provide financing if Cohen closed the line of credit, Cohen lied again, misleadingly stating in an

email that “[t]he medallion line was closed in the middle of November 2014.” (PSR ¶¶ 32-33.)

       This series of lies culminated in Cohen’s application for a HELOC. As noted, Cohen failed

to disclose the more than $20 million in refinanced medallion liability on that application, and

Bank-3 had no reason to question Cohen about the omission of this liability, because he had

affirmatively told the bank that the $14 line of credit was closed.

       In addition to failing to disclose more than $20 million in medallion liability, Cohen also

intentionally omitted the tens of thousands in monthly interest payments he was making on that

debt. Cohen’s monthly cash flow or “debt ratio” of expenses to income was a core component of

Bank-3’s underwriting processes that considered an applicant’s ability to make loan payments and

guard against the bank’s need to enter into lengthy foreclosure proceedings. In evaluating

prospective loans, Bank-3 typically required that a borrower’s monthly expenses represent no more




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than 45 percent of his monthly income. Based on the incomplete information contained in the

HELOC application, Cohen’s debt ratio appeared to be below the benchmark set by Bank-3. Had

Cohen truthfully disclosed his expenses, including the extent of the monthly interest payments he

was required to make to Bank-3, Cohen’s debt ratio would have significantly exceeded the

benchmark. In April 2016, Bank-3 approved Cohen for a $500,000 HELOC, which it would not

have approved but for Cohen’s concealment of truthful information about his financial condition.

(PSR ¶¶ 34-35.)

       Notably, each of the foregoing false statements involved Cohen overstating his assets or

understating his liabilities, as in these instances it served his purposes to appear to have a higher

net worth. In contrast, when it served Cohen’s purposes to understate his net worth to financial

institutions, he did so by concealing income and assets from his creditors. Specifically, documents

and witness interviews from the Government’s investigation revealed that in 2017 and early 2018,

Cohen wanted Bank-2 to restructure his more than $20 million in medallion debt on terms more

favorable to Cohen. Cohen thus shifted gears, halting monthly payments to Bank-2 and falsely

representing orally and in writing that he had a negative net worth and less than $1.5 million in

cash, despite his receipt of nearly $4 million in “consulting” fees between January 2017 and March

2018. By early April 2018, Bank-2 and Cohen reached a deal in principle, premised on Bank-2’s

receipt of an updated personal financial statement confirming, in writing, the negative financial

information represented by Cohen. On April 9, 2018, the FBI executed a series of search warrants

on Cohen, including at his residence, hotel, and office, which put him on notice that he was being

investigated for, among other things, bank fraud and explicitly referenced Bank-2. Following the

execution of the warrants, counsel for Cohen informed Bank-2 that Cohen would be unable at that

time to provide the previously promised updated personal financial statement. To save the deal,




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Cohen agreed to post his Park Avenue residence as collateral, which he had previously refused to

do. An updated financial statement Cohen provided at closing reflected a positive $17 million net

worth in addition to previously undisclosed liquid assets, a nearly $20 million increase from the

false financial information Cohen had provided to Bank-2 just weeks earlier in the negotiations.

       Thus, the false statement to Bank-3 to which Cohen pleaded guilty was far from an isolated

event: It was one in a long-series of self-serving lies Cohen told to numerous financial institutions.

       4. Cohen’s Illegal Campaign Contributions

       On approximately June 16, 2015, Individual-1, for whom Cohen worked at the time, began

an ultimately successful campaign for President of the United States. Cohen had no formal title

with the campaign, but had a campaign email address, and, at various times advised the campaign,

including on matters of interest to the press. Cohen also made media appearances as a surrogate

and supporter of Individual-1. (PSR ¶ 39).

       During the campaign, Cohen played a central role in two similar schemes to purchase the

rights to stories – each from women who claimed to have had an affair with Individual-1 – so as

to suppress the stories and thereby prevent them from influencing the election. With respect to

both payments, Cohen acted with the intent to influence the 2016 presidential election. Cohen

coordinated his actions with one or more members of the campaign, including through meetings

and phone calls, about the fact, nature, and timing of the payments. (PSR ¶ 51). In particular, and

as Cohen himself has now admitted, with respect to both payments, he acted in coordination with

and at the direction of Individual-1. (PSR ¶¶ 41, 45). As a result of Cohen’s actions, neither

woman spoke to the press prior to the election. (PSR ¶ 51).

       Cohen Causes the Magazine to Pay Woman-1

       In approximately June 2016, a model and actress (“Woman-1”) began attempting to sell




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her story of her alleged extramarital affair with Individual-1. Woman-1 knew that the story would

be of considerable value because of Individual-1’s candidacy for president. Woman-1 retained an

attorney (“Attorney-1”) to represent her in this matter. (PSR ¶ 41).

       Attorney-1 then contacted the editor-in-chief (“Editor-1”) of a popular tabloid magazine

(“Magazine-1”) and offered to sell the story to Magazine-1. The Chairman and Chief Executive

Officer (“Chairman-1”) of the media company that owns Magazine-1 (“Corporation-1”) had a

prior relationship with Individual-1 and Cohen. In August 2014, Chairman-1 had met with Cohen

and Individual-1, and had offered to help deal with negative stories about Individual-1’s

relationships with women by identifying such stories so that they could be purchased and “killed.”

Consistent with that offer, after Editor-1 told Chairman-1 about Woman-1’s story, they contacted

Cohen to tell him about the offer. (PSR ¶¶ 40-41).

       At Cohen’s urging and with his promise that Corporation-1 would be reimbursed, Editor-

1 began negotiating the purchase of Woman-1’s story. On August 5, 2016, Corporation-1 entered

into an agreement with Woman-1 to acquire the “limited life rights” to the story of her relationship

with “any then-married man,” in exchange for $150,000 and a commitment to feature her on two

magazine covers and publish over one hundred magazine articles authored by her.                The

agreement’s principal purpose was to suppress Woman-1’s story so as to prevent the story from

influencing the election. (PSR ¶¶ 41-42).

       Between August 2016 and September 2016, Cohen agreed with Chairman-1 to assign the

rights to the non-disclosure portion of Corporation-1’s agreement with Woman-1 to Cohen for

$125,000. Cohen then incorporated a shell entity called “Resolution Consultants LLC” to be used

in the transaction. Both Chairman-1 and Cohen ultimately signed the agreement, and a consultant

for Corporation-1, using his own shell entity, provided Cohen with an invoice for the payment of




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$125,000. That assignment was never completed, however. (PSR ¶¶ 43-44).

       Cohen Pays Woman-2

       On October 8, 2016, an agent for an adult film actress (“Woman-2”) informed Editor-1 that

Woman-2 was willing to make public statements and confirm on the record her alleged past affair

with Individual-1. Chairman-1 and Editor-1 contacted Cohen and put him in touch with Attorney-

1, who was also representing Woman-2. Over the course of the next few days, Cohen negotiated

a $130,000 agreement with Attorney-1 to purchase Woman-2’s silence. Cohen received a signed

confidential settlement agreement and a separate side letter from Attorney-1. (PSR ¶ 45).

       Cohen did not immediately execute the settlement agreement, nor did he pay Woman-2.

On the evening of October 25, 2016, with no final deal in place with Woman-2, Attorney-1 told

Editor-1 that Woman-2 was close to completing a deal with a media outlet, under which she would

make her story public. Editor-1 texted Cohen that “[w]e have to coordinate something on the

matter [Attorney-1 is] calling you about or it could look awfully bad for everyone.” Chairman-1

and Editor-1 then called Cohen through an encrypted telephone application. Cohen agreed to make

the payment and then called Attorney-1 to finalize the deal. (PSR ¶ 46).

       On October 26, 2016, Cohen emailed an incorporating service to obtain the corporate

formation documents for another shell corporation, Essential Consultants, LLC, which he had

incorporated a few days prior. That afternoon, he directed that $131,000 from his HELOC – the

same HELOC he had obtained by means of false statements, see p. 8-10, supra – be deposited into

an account he had just opened in the name of Essential Consultants LLC. The next day, Cohen

wired $130,000 from that account to Attorney-1. On the wire form, Cohen falsely indicated that

the purpose of the wire was to pay a “retainer.” On November 1, 2016, Cohen received copies of

the final, signed confidential settlement agreement and side letter agreement from Attorney-1.




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(PSR ¶¶ 47-50).

       After the election, Cohen sought reimbursement for election-related expenses, including

the $130,000 payment he had made to Woman-2. Cohen presented an executive of the Company

with a copy of a bank statement reflecting the $130,000 wire transfer. Cohen also requested

reimbursement of an additional $50,000, which represented a claimed payment for campaign-

related “tech services.” Executives of the Company agreed to reimburse Cohen by adding

$130,000 and $50,000, “grossing up” that amount to $360,000 for tax purposes, and adding a

$60,000 bonus, such that Cohen would be paid $420,000 in total. Executives of the Company

decided to pay the $420,000 in monthly installments of $35,000 over the course of a year. (PSR

¶¶ 52-53).

       At the instruction of an executive for the Company, Cohen sent monthly invoices to the

Company for these $35,000 payments, falsely indicating that the invoices were being sent pursuant

to a “retainer agreement.” The Company then falsely accounted for these payments as “legal

expenses.” In fact, no such retainer agreement existed and these payments were not “legal

expenses” – Cohen in fact provided negligible legal services to Individual-1 or the Company in

2017 – but were reimbursement payments. Cohen then received the $420,000 during the course

of 2017. (PSR ¶¶ 54-56).

       5. Cohen’s False Statements to Congress

       Cohen also deliberately made false statements to the Congress. The offense conduct

regarding Cohen’s false statements in set forth in the sentencing submission being filed by the

SCO in 18 Cr. 850 (WHP). (See also PSR ¶¶ 62-73).

B.     Cohen’s Meetings with Law Enforcement

       Since his guilty plea, Cohen has provided information to various law enforcement entities,




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including representatives of this Office and the SCO. As set forth in the submission being filed

by the SCO in 18 Cr. 850 (WHP), this Office understands that the information provided by Cohen

to the SCO was ultimately credible and useful to its ongoing investigation.

       To be clear, neither the SCO nor this Office is making a motion under U.S.S.G. § 5K1.1.

No such motion is being made because, as detailed herein, Cohen repeatedly declined to provide

full information about the scope of any additional criminal conduct in which he may have engaged

or had knowledge. However, this Office acknowledges and agrees that Cohen’s provision of

information to the SCO in connection with its investigation is a mitigating factor that the Court

should consider in imposing sentence. Indeed, Cohen’s provision of information to the SCO is the

reason that this Office is not seeking a Guidelines sentence here, but rather is acknowledging that

a modest variance is appropriate.

       While Cohen’s provision of information to the SCO merits credit, his description of his

actions as arising solely from some “personal resolve” – as opposed to arising from the pendency

of criminal charges and the desire for leniency – ignores that Cohen first reached out to meet with

the SCO at a time when he knew he was under imminent threat of indictment in this District. As

such, any suggestion by Cohen that his meetings with law enforcement reflect a selfless and

unprompted about-face are overstated.

       With respect to Cohen’s provision of information to this Office, in its two meetings with

him, this Office assessed Cohen to be forthright and credible, and the information he provided was

largely consistent with other evidence gathered. Had Cohen actually cooperated, it could have

been fruitful: He did provide what could have been useful information about matters relating to

ongoing investigations being carried out by this Office. But as Cohen partially acknowledges, it

was his decision not to pursue full cooperation, and his professed willingness to continue to provide




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information at some later unspecified time is of limited value to this Office, both because he is

under no obligation to do so, and because the Office’s inability to fully vet his criminal history and

reliability impact his utility as a witness.

        Indeed, his proffer sessions with the SCO aside, Cohen only met with the Office about the

participation of others in the campaign finance crimes to which Cohen had already pleaded guilty.

Cohen specifically declined to be debriefed on other uncharged criminal conduct, if any, in his

past.4 Cohen further declined to meet with the Office about other areas of investigative interest.

As the Court is undoubtedly aware, in order to successfully cooperate with this Office, witnesses

must undergo full debriefings that encompass their entire criminal history, as well as any and all

information they possess about crimes committed by both themselves and others. This process

permits the Office to fully assess the candor, culpability, and complications attendant to any

potential cooperator, and results in cooperating witnesses who, having accepted full responsibility

for any and all misconduct, are credible to law enforcement and, hopefully, to judges and juries.

Cohen affirmatively chose not to pursue this process. Cohen’s efforts thus fell well short of

cooperation, as that term is properly used in this District.5

        For this reason, Cohen is not being offered a cooperation agreement or a 5K1.1 letter.


        4
         At the time that Cohen met twice with this Office, through his attorneys, he had expressed that he
was considering – but not committing to – full cooperation. Cohen subsequently determined not to fully
cooperate.
        5
          Cohen’s provision of information to the Office of the New York Attorney General (“NY AG”)
warrants little to no consideration as a mitigating factor. This Office’s understanding is that the information
Cohen provided was useful only to the extent that he corroborated information already known to the NY
AG. More importantly, Cohen provided information to the NY AG not as a cooperating witness who was
exposing himself to potential criminal or civil liability but instead as a witness who could have been
compelled to provide that testimony. Fulfilling that basic legal responsibility voluntarily does not warrant
a reduced sentence – particularly when one waits until he is charged with federal crimes before doing so.
Similarly, this Office’s understanding is that the New York State Department of Taxation and Financial
Services (“NYSDTF”) subpoenaed Cohen for information about the payment of his own state taxes, and
any claimed “cooperation” with NYSDTF appears to consist solely of providing that entity information
that they would otherwise have obtained via subpoena.


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Within the confines of the SCO investigation itself, the Office does not dispute that Cohen’s

assistance to the SCO was significant. But because Cohen elected not to pursue more fulsome

cooperation with this Office, including on other subjects and on his own history, the Office cannot

assess the overall level of Cohen’s cooperation to be significant. Therefore, the Office submits

that, in fashioning a sentence on its case, the Court afford Cohen credit for his efforts with the

SCO, but credit that accounts for only a modest variance from the Guidelines range and does not

approach the credit typically given to actual cooperating witnesses in this District.

                  APPLICATION OF THE SENTENCING GUIDELINES

A.     The Probation Department’s Calculation

       The Office agrees with the Probation Department’s calculation of the total offense level as

24, see PSR ¶ 110, and the Criminal History Category as I, see PSR ¶ 114. Based upon these

calculations, Cohen’s advisory Guidelines range is 51 to 63 months’ imprisonment. (PSR ¶ 174.)

B.     Cohen’s Challenges to the Guidelines Calculation

       Cohen challenges the Probation Department’s calculation on two grounds. (Def. Mem. at

22-26.) Each claim is meritless.

       1. The PSR’s Grouping Analysis is Correct

       Cohen claims that the Probation Department’s grouping of the tax evasion counts with the

other counts in Information 18 Cr. 602 was incorrect because the counts are not “closely related.”

This argument is contrary to the text of the applicable Guidelines and controlling Second Circuit

precedent.

       The PSR groups all eight counts in Information 18 Cr. 602 pursuant to U.S.S.G. § 3D1.2,

which provides that “[a]ll counts involving substantially the same harm shall be grouped together




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into a single Group.”6 Subsection (d) of the Guideline specifies that “substantially the same harm”

includes “[w]hen the offense level is determined largely on the basis of the total amount of harm

or loss.” U.S.S.G. § 3D1.2(d). The subsection also includes a list of specifically enumerated

Guidelines that are to be grouped. Id. All three of the Guidelines at issue here – U.S.S.G. § 2B1.1,

which applies to the false statements count, § 2C1.8, which applies to the illegal campaign

contribution counts, and § 2T1.1, which applies to the tax evasion counts – are included on that

list. Thus, using the plain text of the Guidelines, all of the offenses here should be grouped.7 The

commentary to the Guidelines further supports this conclusion. It states that “counts involving

offenses to which different offense guidelines apply are grouped together under subsection (d) if

the offenses are of the same general type,” and further specifies that “[t]he ‘same general type’ of

offense is to be construed broadly.” U.S.S.G. § 3D1.2 app. n. 6.

        Second Circuit case law supports the plain-text reading of the Guidelines. The Second

Circuit has held that Section 3D1.2(d) must be used to group tax crimes with fraud and other

offenses for which the offense level is principally determined by the amount of loss. United States

v. Gordon, 291 F.3d 181, 192 (2d Cir. 2002); see also United States v. Fitzgerald, 232 F.3d 315,

320 (2d Cir. 2000) (holding that tax evasion, fraud and conversion should be grouped under

Section 3D1.2(d) because they are offenses of the same general type); United States v. Petrillo,



        6
         The false statements to Congress count charged in 18 Cr. 850 does not group with the other
counts, but it does not affect the Guidelines calculation. (PSR ¶ 88).
        7
          Cohen argues that the listing of specific Guidelines in this subsection does not make grouping
mandatory. See Def. Mem. at 23 (citing United States v. Napoli, 179 F.3d 1, 9 n.4 (2d Cir. 1999)). But
saying that grouping is not mandatory does not mean that it is not appropriate – particularly where, as here,
the Guidelines in question are each ones in which the offense level is determined largely on the basis of the
total amount of loss. See Napoli, 179 F.3d at 9 n.4 (citing as an example where grouping would not be
appropriate fraud and drug counts, because one measures harm by dollar losses whereas the other measures
harm by drug weights). Here, each of the listed offenses measures harm by dollar amounts, meaning that
Napoli, cited by Cohen, actually supports the Office’s position.



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237 F.3d 119, 124-25 (2d Cir. 2000) (holding that tax evasion and mail fraud should be grouped

under Section 3D1.2(d)); United States v. Bernstein, 43 Fed. App’x 429, 431 (2d Cir. 2002)

(affirming grouping of mail fraud and tax fraud offenses under Section 3D1.2(d)).8

        Cohen attempts to distinguish Petrillo, arguing that the tax and mail fraud offenses in that

case were factually intertwined and that it was decided at a time when the tax and fraud tables had

the same thresholds. (Def Mem. at 24). But even if Petrillo were read as limited to the facts of

that case, Gordon resolves any uncertainty. Analyzing Petrillo and Fitzgerald, the Second Circuit

held in Gordon that even if those cases do not require grouping under Section 3D1.2(d), the

structure of the Guidelines does in fact “require” that “crimes falling within the special category

of quantifiable-harm offenses” be grouped under § 3D1.2(d). Gordon, 291 F.3d at 193. That was

so even though, at the time, the tax and fraud offense tables no longer had identical thresholds.

Nevertheless, the Circuit held that the district court committed clear and obvious error by not

applying Section 3D1.2(d) to group the fraud and tax evasion offenses in that case. Id.9

        Moreover, Cohen’s position – that the campaign finance and false statements counts should

group, but the tax evasion counts should not – does not make sense. All three sets of counts are

offenses for which the offense level is based principally on a quantifiable amount of harm or loss,

and qualify as offenses of “the same general type” as each other. But even if the foregoing

precedent were set aside, and the phrase “general type” were construed narrowly so that tax crimes

were not of the same general type as false statements or campaign finance offenses, then the false


        8
          Cohen argues that the “vast majority of Circuit courts” have held otherwise, citing United States
v. Doxie, 813 F.3d 1340, 1345 (11th Cir. 2016). But as Doxie recognizes, the Second Circuit has concluded
that “fraud counts and tax counts should be grouped together under § 3D1.2(d).” Id. at n.3. That holding
is binding here in the Second Circuit.
        9
          The concurrence in Gordon cited by Cohen did not command a majority of the panel and thus is
not controlling precedent.



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statements and campaign finance crimes would similarly not be of the same “general type.”

Indeed, the false statements and campaign finance crimes are no more similar as a general matter

or related as a factual matter than the tax crimes are with the other offenses. Thus, there is no

rational basis to group some but not all of the offenses in this case. 10

        2. The Guidelines Enhancements Are Not “Overlapping”

        In the plea agreement, the parties have stipulated that two-level enhancements are

warranted for both (i) Cohen’s used of “sophisticated means,” and (ii) his use of his “special skill”

as a licensed attorney in a manner that significantly facilitated the commission and concealment

of his crimes. The PSR also applies these enhancements. (PSR ¶¶ 92, 94). While not contesting

their applicability as a legal matter, Cohen argues that they address overlapping conduct, such that

the resulting Guidelines range overstates the offense. (Def. Mem. at 24-25). This argument is

meritless. The “sophisticated means” and “special skill” enhancements address different aspects

of Cohen’s conduct, and each serves a unique purpose under the Guidelines.

        The “sophisticated means” enhancement is addressed to Cohen’s use of complex means to

carry out and disguise his crimes. For example, Cohen created shell companies for his commission

of the campaign finance crimes, including one shell entity (Resolution Consultants) for use in the

transaction with Woman-1 and another shell entity (Essential Consultants) for use in the

transaction with Woman-2. (PSR ¶¶ 43, 47.) Cohen also agreed to structure the reimbursement

for his payment to Woman-2 in monthly installments, and to disguise those payments by creating

fake invoices that referenced a non-existent “retainer.” (PSR ¶ 54.) These actions clearly

constitute the use of “sophisticated means,” and Cohen does not and cannot argue to the contrary.

See, e.g., U.S.S.G. § 2B1.1 cmt. n. 9(B) (“[c]onduct such as hiding assets or transactions, or both,


        10
           If that were the case – that none of the counts grouped – then the total offense level would likely
be 27, yielding a much higher Guidelines range of 70 to 87 months’ imprisonment.


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through the use of fictitious entities [or] corporate shells . . . ordinarily indicates sophisticated

means”); United States v. Amico, 416 F.3d 163, 169 (2d Cir. 2005) (creation of false bank

documents, appraisals, and blueprints constituted sophisticated means); see also United States v.

Regensberg, 381 F. App’x 60, 62 (2d Cir. 2010) (creation of fake loan documents and fraudulent

earnings statements constituted sophisticated means).

       By contrast, the “special skill” enhancement is directed at a different aspect of Cohen’s

conduct – his use of his education, training, and licensure as an attorney to facilitate and conceal

the campaign finance crimes. For example, in order to facilitate the hush money payment to

Woman-2, Cohen used his skills and experience as an attorney to negotiate and finalize a

settlement agreement with Woman-2, which included both a principal agreement and a separate

side letter that was designed specifically to conceal the identities of the parties. (PSR ¶ 45).

Moreover, Cohen’s role as the attorney for one of the individuals involved in both settlement

agreements allowed him to use his position to attempt to cloak his criminal conduct under the veil

of attorney-client privilege. Indeed, in conversations he recorded with reporters, he claimed that

beyond his public statements on the matter, he could not answer questions about his role in the

payments because of attorney-client privilege. This sort of conduct implicates the “special skill”

enhancement. See, e.g., United States v. Mancuso, 428 Fed. Appx. 73, 2011 WL 2580228, at *7

(2d Cir. June 30, 2011) (enhancement warranted where attorney used legal skills to create a power

of attorney, draft a backdated partnership agreement, and form a company in furtherance of the

offense); United States v. Kelly, 147 F.3d 172, 178 (2d Cir. 1998) (defendant used his skill as an

experienced attorney to prepare an assignment of income in an effort to avoid income tax).

       These two enhancements are thus directed at different actions that carry unique harms. For

that reason, Cohen’s argument that the enhancements are “overlapping” and should thus be




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discounted is meritless. See, e.g., United States v. Minneman, 143 F.3d 274, 283 (7th Cir. 1998)

(rejecting “double-counting” argument where the special skill adjustment focused on the

defendant’s use of his legal training, while the sophisticated means enhancement was based on his

use of multiple accounts and corporate names); United States v. Rice, 52 F.3d 843, 851 (10th Cir.

1995) (noting that “[t]he purpose of the special skill enhancement is to punish those criminals who

use their special talents to commit crime,” whereas the sophisticated means enhancement is

“designed to target criminals who engage in complicated criminal activity because their actions

are considered more blameworthy and deserving of greater punishment than a perpetrator of a

simple version of the crime”).

C.     The Probation Department’s Recommendation

       Taking into account the factors set forth in 18 U.S.C. § 3553(a), including Cohen’s age and

background, the nature and circumstances of his offenses, and the need to avoid unwarranted

sentencing disparities, the Probation Department recommends a sentence of 42 months’

imprisonment and a $100,000 fine. (PSR at 53-54.) The Probation Department’s recommendation

does not, however, consider Cohen’s provision of information to the SCO.

                                          DISCUSSION

A.     A Substantial Term of Imprisonment Is Warranted

       As set forth herein, consideration of the factors set forth in 18 U.S.C. § 3553(a) weighs

heavily in favor of a substantial term of imprisonment. In particular, the nature and seriousness of

the offenses and the need to promote respect for the law and afford adequate deterrence are

especially weighty considerations.

       1. The Nature and Seriousness of the Offenses

       In his submission, Cohen states that “the facts and circumstances surrounding this case are




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unique and unprecedented.” (Def. Mem. at 28-29.) That may be so, but it is not exclusively for

the reasons given by Cohen. It is also unique because Cohen managed to commit a panoply of

serious crimes, all while holding himself out as a licensed attorney and upstanding member of the

bar. His offenses strike at several pillars of our society and system of government: the payment

of taxes; transparent and fair elections; and truthfulness before government and in business.

       First, Cohen’s commission of two campaign finance crimes on the eve of the 2016 election

for President of the United States struck a blow to one of the core goals of the federal campaign

finance laws: transparency. While many Americans who desired a particular outcome to the

election knocked on doors, toiled at phone banks, or found any number of other legal ways to make

their voices heard, Cohen sought to influence the election from the shadows. He did so by

orchestrating secret and illegal payments to silence two women who otherwise would have made

public their alleged extramarital affairs with Individual-1. In the process, Cohen deceived the

voting public by hiding alleged facts that he believed would have had a substantial effect on the

election.

       It is this type of harm that Congress sought to prevent when it imposed limits on individual

contributions to candidates. To promote transparency and prevent wealthy individuals like Cohen

from circumventing these limits, Congress prohibited individuals from making expenditures on

behalf of and coordinated with candidates.        Cohen clouded a process that Congress has

painstakingly sought to keep transparent. The sentence imposed should reflect the seriousness of

Cohen’s brazen violations of the election laws and attempt to counter the public cynicism that may

arise when individuals like Cohen act as if the political process belongs to the rich and powerful.

       Cohen’s submission suggests that this was but a brief error in judgment. Not so. Cohen

knew exactly where the line was, and he chose deliberately and repeatedly to cross it. Indeed, he




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was a licensed attorney with significant political experience and a history of campaign donations,

and who was well-aware of the election laws.11 In fact, Cohen publicly and privately took credit

for Individual-1’s political success, claiming – in a conversation that he secretly recorded – that

he “started the whole thing . . . started the whole campaign” in 2012 when Individual-1 expressed

an interest in running for President. Moreover, not only was Cohen well aware of what he was

doing, but he used sophisticated tactics to conceal his misconduct.          He arranged one of the

payments through a media company and disguised it as a services contract, and executed the

second non-disclosure agreement with aliases and routed the six-figure payment through a shell

corporation. After the election, he arranged for his own reimbursement via fraudulent invoices for

non-existent legal services ostensibly performed pursuant to a non-existent “retainer” agreement.

And even when public reports of the payments began to surface, Cohen told shifting and

misleading stories about the nature of the payment, his coordination with the candidate, and the

fact that he was reimbursed.

       This was not a blind act of loyalty, as Cohen has also suggested. His actions suggest that

Cohen relished the status of ultimate fixer – a role that he embraced as recently as May 2018.12

Cohen was driven by a desire to further ingratiate himself with a potential future President—for

whose political success Cohen himself claimed credit—and arranged for the payments in an

attempt to increase his power and influence. Indeed, after Cohen caused the media company to


       11
          Cohen was previously the subject of an FEC complaint for making unlawful contributions to
Donald Trump’s nascent campaign for the 2012 presidency. The complaint was dismissed for jurisdictional
reasons, but it certainly put Cohen on notice of the applicable campaign finance regulations. See In the
Matter of Donald J. Trump, Michael Cohen, et al., MUR 6462 (Sept. 18, 2013).
       12
                Michael Cohen (@michaelcohen212), Twitter (May 8, 2018, 6:19 PM),
https://twitter.com/michaelcohen212/status/971933570146201600?lang=en (thanking @CNN “for your
accurate depiction of me and my role for our @POTUS @realDonaldTrump! #loyalty #RayDonovan
#fixer). The phrase “#RayDonovan” is a reference to the fictional “fixer” character on the Showtime
television crime drama Ray Donovan.


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make an illegal expenditure, in a secretly recorded meeting Cohen took credit for the payment and

assured Individual-1 that he was “all over” the transaction. And after making the payment to the

second woman, and after Individual-1 was elected President, Cohen privately bragged to friends

and reporters, including in recorded conversations, that he had made the payment to spare

Individual-1 from damaging press and embarrassment.

       Cohen’s criminal violations of the federal election laws were also stirred, like his other

crimes, by his own ambition and greed. During and after the campaign, Cohen privately told

friends and colleagues, including in seized text messages, that he expected to be given a prominent

role and title in the new administration. When that did not materialize, Cohen found a way to

monetize his relationship with and access to the President.         Cohen successfully convinced

numerous major corporations to retain him as a “consultant” who could provide unique insights

about and access to the new administration. Some of these corporations were then stuck making

large up-front or periodic payments to Cohen, even though he provided little or no real services

under these contracts. Bank records reflect that Cohen made more than $4 million dollars before

the contracts were terminated.

       Second, Cohen undertook similar acts of deception in his private life. He concealed

significant amounts of income from the IRS, and lied about his financial status in his dealings with

banks. These offenses warrant significant punishment. For at least half a decade, Cohen willfully

evaded paying taxes. Cohen, who himself studied tax in law school and displayed an awareness

of complicated tax laws in real estate transactions, took purposeful steps to avoid paying taxes on

millions of dollars in income over a five-year period. He made private loans at double-digit interest

rates and did not report the millions of dollars in income it generated. The fact that these loans

were cash generators was not lost on Cohen: At one point, he offered to sell the loans to other




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investors. Cohen also failed to report hundreds of thousands of dollars in consulting income and

legal work, and underreported payments he received from his ownership of taxi medallions.

       Cohen’s sentencing memorandum attempts to downplay the seriousness of this conduct,

labeling it “unsophisticated” because this case does not involve unreported cash transactions,

offshore accounts, phony deductions, or obstructive conduct. (Def. Mem. at 14.) But the nature

of Cohen’s criminal conduct is apparent from the manner in which he dealt with his own

accountant: Cohen provided incomplete information to his accountant, lied about the existence or

value of certain assets and income sources, and rebuffed questions that would have revealed

income he deliberately concealed. Moreover, Cohen’s crimes were not ones of necessity. To the

contrary, he relied on his unreported income to maintain his opulent lifestyle and purchase luxury

items. Indeed, in some years, the amount of money that Cohen spent on expenses – including

credit card bills, fine art purchases, and payments for private school – exceeded the gross amount

of income listed on Cohen’s tax returns.

       Third, Cohen similarly flouted his obligation to be truthful in business when seeking

financing. To secure loans, Cohen falsely understated the amount of debt he was carrying, and

omitted information from his personal financial statements, to induce a bank to lend based on

incomplete information. To explain why he submitted a false statement to a bank that failed to

disclose more than $20 million in liabilities as well as tens of thousands in monthly expenses,

Cohen notes that it was his private banker who provided Cohen with an inaccurate application,

which Cohen failed to correct. But this was no mere error of omission: As noted above, Cohen

was specifically asked about the omission, and covered it up by misleadingly telling Bank-3 that

the liabilities had been expunged, when in fact they had been re-established at another bank. This

false statement was the latest in a series of false statements Cohen had made to this banker and




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others. See p. 8-11, supra. And indeed it was one of these prior false statements – in which Cohen

told the banker that he had closed the $14 million line of credit in question – that led the banker to

omit that liability from the draft of his application.

        Cohen is loath to acknowledge these false statements to banks. Likewise at his guilty plea

proceeding, the Court had to press Cohen to acknowledge that he understood he was lying to a

bank. This signals that Cohen’s consciousness of wrongdoing is fleeting, that his remorse is

minimal, and that his instinct to blame others is strong.               While he has legally accepted

responsibility, the Court should consider at sentencing these transparent efforts at minimizing

Cohen’s false statements and criminal conduct. As the Probation Department recognized in

rejecting these arguments, Cohen is attempting “to lessen [his] culpability and place the burden on

Bank-3.” (PSR at 48.)13

        Finally, Cohen has pled guilty to making false statements to Congress in connection with

a congressional investigation.       This offense is described in detail in the SCO’s sentencing

submission.

        Taken alone, these are each serious crimes worthy of meaningful punishment. Taken

together, these offenses reveal a man who knowingly sought to undermine core institutions of our

democracy. His motivation to do so was not borne from naiveté, carelessness, misplaced loyalty,

or political ideology. Rather, these were knowing and calculated acts – acts Cohen executed in


        13
            In a further attempt at undermining the seriousness of this offense, Cohen observes that there
has been no monetary loss to any bank. (Def. Mem. at 18.) Financial loss, however, should not be the only
measure of the seriousness of the offense. Cohen’s argument fails to recognize the important federal interest
at stake, which is reflected in the purpose and history of 18 U.S.C. § 1014. Section 1014 was designed to
“protect federally insured institutions from losses stemming from false statements or misrepresentations
that mislead the institutions into making financial commitments, advances, or loans,” and thereby to
“protect the integrity of the system of credit generated and maintained by federally insured banks.” United
States v. Zahavi, No. 12 Cr. 288 (JPO), 2012 WL 5288743, at *2 (S.D.N.Y. Oct. 26, 2012). If borrowers
obtain loans based on false information, and cannot fulfill their obligations, that can have tremendous
negative effects on lenders and the banking system as a whole.


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order to profit personally, build his own power, and enhance his level of influence. The nature

and seriousness of each of Cohen’s crimes warrant a substantial sentence in this case. See 18

U.S.C. § 3553(a)(1), (2)(A).

       2. The Need to Promote Respect for the Law and to Afford Adequate Deterrence

       The need for the sentence to promote respect for the law and to afford adequate deterrence

further supports imposition of a significant sentence of imprisonment. Congress provided for

strong criminal sanctions as a general deterrent to tax evasion, false statements to financial

institutions, and campaign finance violations. Given the magnitude and brazenness of the conduct

in this case, the interests of deterrence are best served by the imposition of a substantial term of

imprisonment.

       Cohen’s years-long pattern of deception, and his attempts to minimize certain of that

conduct even now, make it evident that a lengthy custodial sentence is necessary to specifically

deter him from further fraudulent conduct, whether out of greed or for power, in the future.

Certainly, Cohen has no prior convictions, and is well-educated and professionally successful.

Generally, such characteristics suggest that a defendant is unlikely to re-offend in the future. But

where, as here, the nature, multitude, and temporal span of criminal behavior betray a man whose

outlook on life was often to cheat – an outlook that succeeded for some time – his professional

history and lack of prior convictions are not a significant mitigating factor.

       For much the same reasons, the time-served sentence that Cohen seeks would send

precisely the wrong message to the public. General deterrence is a significant factor here.

Campaign finance crimes, because they are committed in secret and hidden from the victims, are

difficult to identify and prosecute. Nonetheless, they have tremendous social cost, described

above, as they erode faith in elections and perpetuate political corruption. Effective deterrence of




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such offenses requires incarceratory sentences that signal to other individuals who may

contemplate conduct similar to Cohen’s that violations of campaign finance laws will not be

tolerated. Particularly in light of the public interest in this case, the Court’s sentence may indeed

have a cognizable impact on that problem by deterring future candidates, and their “fixers,” all of

whom are sure to be aware of the Court’s sentence here, from violating campaign finance laws.

       Additionally, a significant sentence of imprisonment would also generally deter tax

evasion and other financial crimes by sending the important message that even powerful

individuals cannot cheat on their taxes and lie to financial institutions with impunity, because they

will be subject to serious federal penalties. This is particularly important in the context of a tax

evasion prosecution. Hundreds of billions of dollars are lost annually because people like Cohen

– who otherwise take full advantage of all that taxes bring, such as schools, paved roads, transit

systems, and Government buildings – shirk their responsibilities as American taxpayers.

Meaningful sentences – that is, ones that, through their terms, speak loudly and clearly – must be

given in cases like this one so that others are forewarned of the consequences for engaging in tax

crimes. As the United States Sentencing Commission has explained, “[b]ecause of the limited

number of criminal tax prosecutions relative to the estimated incidence of such violations,

deterring others from violating the tax laws is a primary consideration underlying these guidelines.

Recognition that the sentence for a criminal tax case will be commensurate with the gravity of the

offense should act as a deterrent to would be violators.” U.S.S.G. Ch. 2, Part T, intro. Cmt. Where

the incidence of prosecution is lower, the level of punishment must be higher to obtain the same

level of deterrence. See generally Louis Kaplow and Steven Shavell, “Fairness Versus Welfare,”

114 Harv. L. Rev. 961, 1225-1303 (2001); see also United States v. Hassebrock, 663 F.3d 906,

922 (7th Cir. 2011) (affirming as reasonable a within-Guidelines 32-month sentence for a tax




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evader when the district court explained that “a sentence of probation would not promote respect

for the law, but encourage people to flaunt it”). Indeed, “[s]tudies have shown that salient

examples of tax-enforcement actions against specific taxpayers, especially those that involve

criminal sanctions, have a significant and positive deterrent effect.” Joshua D. Blank, In Defense

of Individual Tax Privacy, 61 Emory L.J. 265, 321 (2011-2012). Our system of voluntary

compliance would be undermined if wealthy and successful individuals such as Cohen come to

believe that the most severe sanctions that they will face, in the relatively unlikely case that they

are caught cheating on their taxes, are the payment of back taxes, interest, and penalties. The

Guidelines therefore recognize the harm tax crimes inflict on society and recommend prison

sentences for cases like this one.

       In sum, the nature of Cohen’s conduct underscores the need for a substantial period of

incarceration as a means both to promote respect for the law and to deter future abuses by other

individuals seeking improperly to influence the electoral process, evade taxes, or lie to financial

institutions. 18 U.S.C. § 3553(a)(2)(A) & (a)(2)(B).

B.     Cohen’s Request for a Sentence of Time Served is Meritless

       In his submission, Cohen requests a sentence of time served, which would effectively be a

sentence of a matter of hours – 99.5% lower than what the Sentencing Guidelines and Probation

Department recommend.        When considering “the kinds of sentences available,” 18 U.S.C.

§ 3553(a)(3), this Court should view with great skepticism a request for a non-

incarceratory sentence when the Guidelines recommend a substantial prison term. See United

States v. Goldberg, 491 F.3d 668, 673 (7th Cir. 2007) (“When the guidelines, drafted by a respected

public body with access to the best knowledge and practices of penology, recommend that a

defendant be sentenced to a number of years in prison, a sentence involving no . . . imprisonment




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can be justified only by a careful, impartial weighing of the statutory sentencing factors.”). Cohen

presses four principal arguments in support of his request, but none warrants the extraordinary

variance that he seeks.

       First, Cohen argues that the emotional toll of his convictions on him and his family, the

loss of his law license and other business, and civil tax penalties, “amount[] to an alternative form

of punishment,” which warrants a sentence of time served. (Def. Mem. at 26.) They do not.

Congress, through the Guidelines, has pointedly addressed and rejected this “I’ve been punished

enough” argument from privileged citizens who bemoan the collateral consequences of a

guidelines sentence to persons like themselves. See 28 U.S.C. § 994(d) (“The Commission shall

assure that the guidelines and policy statements are entirely neutral as to . . . socioeconomic status

of offenders.”); U.S.S.G. § 5H1.10 (socioeconomic status not relevant); see also U.S.S.G. § 5H1.2

(vocational skills and education not ordinarily relevant); U.S.S.G. § 5H1.5 (employment record

not ordinarily relevant); U.S.S.G. § 5H1.6 (family ties and responsibilities not ordinarily relevant).

The federal courts have repeatedly agreed. See, e.g., United States v. Prosperi, 686 F.3d 32, 47

(1st Cir. 2012) (“[I]t is impermissible for a court to impose a lighter sentence on white-collar

defendants than on blue-collar defendants because it reasons that white-collar offenders suffer

greater reputational harm or have more to lose by conviction.”); United States v. Musgrave, 761

F.3d 602, 608–09 (6th Cir. 2014) (impermissible for the district court to rely heavily on the fact

that the defendant had already “been punished extraordinarily” through years of legal process, the

loss of his CPA license, and his felony conviction).

       There is nothing about Cohen’s family circumstances warranting the extraordinary

sentence that he seeks. On the contrary, rather than a factor warranting any decreased

imprisonment, Cohen’s education, resources and opportunities should, in the event that they are




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relevant at all, weigh in favor of holding him to an exacting standard. Cohen did not need to

commit the crimes that he did, yet he committed them for personal gain. He was motivated in part

by greed and the desire to live an opulent and lavish lifestyle. And for all of Cohen’s outward

rectitude, he has lived a double life, which weighs heavily against a variance. While Cohen has

submitted letters describing his good nature, the evidence collected and witnesses interviewed in

this investigation paint a decidedly different picture – a picture of someone who was threatening

and abusive when he wanted to get his way. For instance, in 2015, Cohen threatened a journalist

for investigating a negative story about Individual-1, telling him:

       I will make sure that you and I meet one day while we’re in the courthouse. And I
       will take you for every penny you still don’t have. And I will come after your
       [employer] and everybody else that you possibly know. . . . So I’m warning you,
       tread very fucking lightly, because what I’m going to do to you is going to be
       fucking disgusting. You understand me?14

On another call – which Cohen secretly recorded – with bankers from Bank-2 with whom Cohen

was seeking to renegotiate his medallion debt on terms more favorable to him, Cohen threatened:

       I’m gonna teach [the bank and its government conservator] a lesson they’ve never
       seen before in their life. Because I’m gonna hit everybody up with a lawsuit that’s
       gonna spin everyone’s head. And I’m looking forward to that, by the way. And I’m
       not saying it as a threat. It’s a fact.

Cohen himself said in an interview in 2011 that, “If you do something wrong, I’m going to come

at you, grab you by the neck and I’m not going to let you go until I’m finished.” 15 These are just

a few of the many examples of Cohen’s abuse of both his standing as an attorney and his

relationship to a powerful individual – examples of the type of conduct that is repugnant from

anyone, let alone an attorney of the bar. They stand in marked contrast to the letters of support for



       14
            The full recording is available at: www.npr.org/player/embed/615843930/615845621.
       15
           See ABC News, Meet Michael Cohen (Apr. 16, 2011), available at:
https://abcnews.go.com/Politics/donald-trumps-political-pit-bull-meet-michael-cohen/story?id=13386747.


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Cohen.

         On balance, like most others who stand before this Court for sentence, Cohen is neither all

good nor all bad. His personal interactions in private life should not be this Court’s principal

consideration. Rather, it is Cohen’s serious crimes that should be the Court’s lodestar.

         Second, in support of his argument for a time-served sentence, Cohen makes mention of

his financial support and fundraising for his children’s former school, as well as his support for

other charitable causes. (Def. Mem. at 9-11.) But charitable “and similar prior good works are

not ordinarily relevant in determining whether a sentence should be outside the applicable

guideline range.”     U.S.S.G. § 5H1.11.     For good reason: Prior charitable works, however

commendable and extensive, by professionally successful defendants rarely, if ever, are materially

mitigating factors at sentencing because courts recognize that it is not extraordinary for such

defendants to be involved in charities and to have strong professional and personal relationships.

See, e.g., United States v. Barbera, No. 02 Cr. 1268 (RWS), 2005 WL 2709112, at *12-13

(S.D.N.Y. Oct. 21, 2005); see also United States v. Fishman, 631 F. Supp. 2d 399, 403 (S.D.N.Y.

2009) (a defendant’s “good name and good works” should not serve as “the human shield he raises

to seek immunity or dramatic mitigation of punishment when he is caught”). Moreover, it is no

doubt far easier to give generously to charities when the donor is simultaneously evading the

payment of taxes on millions of dollars in income. Cohen was, in effect, donating other people’s

money. As Chief Judge McMahon has explained, “Using other people’s money to do what

qualifies as good works by your likes and then suggesting to me that I give you credit for the fact

that you didn’t use the money to buy a Lamborghini is something that I find and have always found

to be contemptible, especially since all too frequently charity is a means to bolster the esteem in

which one is held by others.” United States v. Binday, 12 Cr. 152 (CM), Dkt. 349, at 44-45.




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        Third, in support of his request for a time-served sentence, Cohen cites several cases in

which the defendant received little or no jail time. (Def. Mem. at 15-17, 19-20.) The cases selected

by Cohen do not bear any particular factual similarity to the instant case. Indeed, in none of the

cases cited by Cohen did the defendant commit the particular array of crimes that Cohen has. As

set forth below, the Court can just as easily identify numerous examples of cases where more

substantial sentences were imposed. Thus, the cases cited by Cohen do not provide a template for

sentencing in this matter, and the Court must decide it based on the particular facts and

circumstances of this case.

        For instance, Cohen highlights United States v. Lacy Doyle as a case in which Judge Carter

imposed a non-incarceratory term of four years’ probation. Cohen fails, however, to acknowledge

that the advisory guidelines range in that case was just 6 to 12 months’ imprisonment based on a

guilty plea to one count of subscribing to a false and fraudulent tax return for a single year.16

Cohen also highlights the sentence imposed in the prosecution of Earl Simmons, a tax evasion case

in which the defendant received a year of imprisonment. In that case, Judge Rakoff focused on

the need for imprisonment in tax evasion cases, regardless of their complexity, to ensure general

deterrence: “People who are considering tax evasion . . . greatly exaggerate their chances of getting

away with it . . . . That is why prison is important.” Sent. Tr. at 32, United States v. Earl Simmons,

17 Cr. 172 (JSR) (S.D.N.Y. Mar. 23, 2018) (ECF No. 39). While it is true that the methods by

which Simmons evaded taxes may have been more complex than here, both men made the

calculated decision that they could get away with not paying taxes. Finally, in contrast to

Simmons, tax evasion is but one of the crimes for which sentence is to be imposed in this case.

        Cohen also overlooks several tax evasion cases in which courts have recently imposed


        16
          In addition, because the advisory guidelines in Doyle were in Zone B, a term of probation was
considered explicitly authorized. U.S.S.G. § 5B1.1(a)(2).


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custodial terms. See United States v. Trupin, 475 F.3d 71, 76 (2d Cir. 2007) (holding that seven-

month prison sentence for multi-year tax evasion scheme with a tax loss of $1.2 million failed to

reflect seriousness of offense, observing that a tax evader, in effect, “steal[s] from his fellow

taxpayers through his deceptions”); Sent. Tr. at 22-23, United States v. Joseph Ciccarella, 16 Cr.

738 (AKH) (S.D.N.Y. March 3, 2017) (imposing an 18-month sentence for a defendant who

caused a tax loss between $250,000 and $550,000, noting that “the obligation to pay taxes is basic

to our civilization”). Finally, in United States v. Erwin Mayer, 09 Cr. 581 (WHP), this Court

imposed a custodial term of imprisonment on a cooperating defendant whose level of cooperation

was described as “unequaled in [that] case, and essentially in any other white-collar case, in which

the[] experienced prosecutors had been engaged.” Sent. Tr. at 32, United States v. Erwin Mayer,

09 Cr. 581 (WHP) (S.D.N.Y. Aug. 19, 2014) (ECF No. 849). In imposing a custodial sentence on

such a cooperating defendant, this Court noted the “need in these kinds of cases for general

deterrence.” (Id.)

       Cohen also asserts that “numerous allegations of unpaid taxes are routinely asserted by the

IRS outside of the criminal context,” and cites to news articles about individuals who failed to pay

their taxes. (Def. Mem. at 16-17.) But Cohen did not just fail to pay assessed taxes. He willfully

evaded taxes by hiding entire income streams over a period of years. His acts were fraudulent and

evasive, and not the product of mistake, negligence, or a failure of his accountant. Cohen’s

suggestion that his case should have been handled outside the criminal process ignores the fact

that his tax crimes were uncovered in the midst of an investigation of his numerous other crimes.

And his complaints about pre-charge process ignore the fact that Cohen was well aware he was

under investigation for months before he was charged, and his counsel was given several

opportunities to present to the Office as to why he should not be charged and in fact made such a




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presentation. Finally, Cohen’s complaints about process and his attempts to blame his accountant

make evident the need for an incarceratory sentence to reflect what Cohen still plainly does not

perceive: His actions were not just technically criminal, but serious offenses against the

Government and the public.

       The two unlawful campaign contribution cases cited by Cohen are similarly of little value

in crafting an appropriate sentence here. (Def. Mem. at 19.) The defendants in those cases made

excessive contributions through straw donors, but the amounts of money involved were less

substantial, and the effect of the crimes were less severe. Cohen’s crimes are particularly serious

because they were committed on the eve of a Presidential election, and they were intended to affect

that election. Thus, the gravity of the offense is considerably greater than the offenses committed

in United States v. Dinesh D’Souza, No. 14 Cr. 34 (RMB), or United States v. Jia Hou and Xing

Wu Pan, No. 12 Cr. 153 (RJS). Moreover, neither case related to the making of a coordinated

expenditure – a different offense under the campaign finance laws.

       Cohen omits the numerous campaign finance cases, including many more analogous to the

facts here, where substantial custodial sentences were imposed for campaign finance offenses.

See, e.g., United States v. Stephen Stockman, No. 17 Cr. 116 (S.D. Tex. 2018) (defendant sentenced

to 120 months’ incarceration for making excessive campaign contributions, wire fraud, money

laundering, and filing false tax returns); United States v. Tyler Harber, No. 14 Cr. 373 (LO) (E.D.

Va. 2015) (defendant sentenced to 24 months’ incarceration following guilty plea for making

coordinated expenditures and false statements to the FBI); United States v. John Rowland, No. 14

Cr. 79 (JBA) (D. Conn. 2015) (defendant sentenced to 30 months’ incarceration for making illegal

campaign contributions, falsifying records, and causing false statements to be made to the FEC);

United States v. Joseph Bigica, No. 2:12 Cr. 318 (FSH) (D.N.J. 2012) (defendant sentenced to 60




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months’ incarceration following guilty plea to tax violation and conduit scheme involving $98,600

in illegal contributions); United States v. Robert Braddock, Jr., No. 3:12 Cr. 58 (LRH) (D. Conn.

2013) (defendant sentenced to 38 months’ incarceration following jury trial involving nearly

$28,000 conduit scheme). As these cases amply demonstrate, custodial sentences for serious

violations of the campaign finance laws are a regular occurrence, and the Court should impose

such a sentence here for the reasons stated above.

       Lastly, Cohen places heavy reliance on his provision of information to law enforcement.

(Def. Mem. at 1-5). To be sure, this case is in some respects unique, and Cohen’s decision to plead

guilty and provide information to law enforcement in matters of national interest is deserving of

credit. Indeed, it is the principal reason the Office is not seeking a Guidelines sentence here. But

as noted in more detail above, Cohen was well aware of the standard debriefing process in which

cooperators in this District regularly participate, and declined to participate. While he answered

questions about the charged conduct, he refused to discuss other uncharged criminal conduct, if

any, in which he may have participated.        This precludes him from being given credit for

“substantial assistance” and obtaining a 5K1.1 letter. The Court should not sentence Cohen as if

he has one. That is, the credit given to Cohen should not approximate the credit that a witness

with a cooperation agreement and a 5K1.1 letter would merit.

       Finally, Cohen’s further assertion that he is deserving of leniency because he “could have

fought the government and continued to hold the party line, positioning himself for a pardon or

clemency” reflects a continuation of his mindset that, at his own option, he is above the laws

reflected in his crimes of conviction. (Def. Mem. at 5). Every defendant in every criminal case

has the right to fight the charges against him. But where, as here, the evidence of their guilt is

overwhelming, defendants often make the choice to plead guilty. After cheating the IRS for years,




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lying to banks and to Congress, and seeking to criminally influence the Presidential election,

Cohen’s decision to plead guilty – rather than seek a pardon for his manifold crimes – does not

make him a hero.

                                          CONCLUSION

         For the reasons set forth above, the Office respectfully requests that this Court impose a

substantial term of imprisonment, one that reflects a modest variance from the applicable

Guidelines range. The Office also requests that the Court impose forfeiture in the amount of

$500,000, and a fine.

Dated:    December 7, 2018
          New York, New York

                                              Respectfully submitted,

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